Case 2:05-cv-02391-BBD-dkv Document6 Filed 08/03/05 Page 10f3 Pag.e¢l_|;):_vS

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IN THE UNITED sTATEs DISTRICT COURT 0 AUG 3 PH 5 '7

FOR WESTERN DISTRICT OF TENNESSEE THOM&S itt GOLRD

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WESTERN DIvIsION W!D C H§MMS

 

SUSAN PATRICIA DRAKE,

Plaintiff, Case No. 05-2391D

vs.
MERCK & COMPANY, INC., et al.,

Defendants.

 

ORDER ADM[NISTRATIVELY CLOSING CASE

 

It appears to the court that this matter has been conditionally transferred to the MDL panel
as part of MDL- l 65 7. ln the interest of j udicial economy, this court Will defer to the transferee court
to decide pending motions. This court, therefore, Will administratively close the above-captioned
case pursuant to its inherent powers as it appears that no further case administration is Warranted at
this time.

lt is expressly emphasized that an order administratively closing a case is purely an
administrative device for the convenience of the court and in nowise affects the substantive and/or
procedural rights of the parties in interest to proceed before this court at a later date. To
administratively close a case merely means to close a case for statistical purposes in the office of the

District Court Clerk and the Administrative Office of the United States Courts.

 
 

Th|s document entered on the docket sheet In compliance
with sure se ana/or 79(8; FHcP on 'X 115

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lt also is expressly emphasized that an administratively closed case can be easily reopened
by a simple order of the court Without the necessity of a reopening filing fee should the case require
further administration Upon its reopening, the case then becomes, ipso facto, a statistically active
case and resumes the same status it had before the administrative closing without prejudice to the
rights of any party in interest. Accordingly,

IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:

l. The Court Clerk is directed, consistent With the foregoing, to administratively close this
case in his records Without prejudice to the substantive and/or procedural rights of any party in
interest to move at a later time to reopen the case for good cause, including the entry of any
stipulation or order, or for any other purpose required to obtain a final determination of pending
litigation.

2. ln the event a party in interest files a motion at a later time seeking to reopen this
administratively closed case, no reopening filing fee shall be required

3. The Clerk is expressly directed to docket any order of dismissal immediately upon receipt

IT IS SO ORDERED this la day of d 2d 5¢ ¢_4£ , 2005.

  
   

  

CE B. DO AL
TED STATES DISTRICT JUDGE

DISTRIC COURT WESNTER ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-0239l Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

